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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                CLARKSBURG

 UNITED STATES OF AMERICA,

                    Plaintiff,

 v.                                           Case No.: 1:17CR00017-03
                                              (JUDGE KEELEY)
 CHARLES BONNER

                    Defendant.


                      REPORT AND RECOMMENDATION
                 CONCERNING PLEA OF GUILTY IN FELONY CASE

        This matter has been referred to the undersigned Magistrate Judge by the

  District Court for purposes of conducting proceedings pursuant to Federal Rule of

  Criminal Procedure 11 (ECF. No. 124). Defendant, Charles Bonner, in person and by

  counsel, Deanna Pennington, appeared before me on May 25, 2017. The

  Government appeared by Assistant United States Attorney, Zelda E. Wesley. The

  Court determined that Defendant was prepared to enter a plea of "Guilty" to Count

  Two of the Indictment.

        The Court proceeded with the Rule 11 proceeding by first placing Defendant

  under oath and inquiring into Defendant’s competency. The Court determined

  Defendant was competent to proceed with the Rule 11 plea hearing and cautioned

  and examined Defendant under oath concerning all matters mentioned in Rule 11.

        The Court next inquired of Defendant concerning his understanding of his

  right to have an Article III Judge hear the entry of his guilty plea and his

  understanding of the difference between an Article III Judge and a Magistrate

  Judge. Defendant thereafter stated in open court that he voluntarily waived his right
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  to have an Article III Judge hear his plea and voluntarily consented to the

  undersigned Magistrate Judge hearing his plea. Defendant tendered to the Court a

  written Waiver of Article III Judge and Consent to Enter Guilty Plea before

  Magistrate   Judge.    The waiver and consent         was   signed by Defendant,

  countersigned by Defendant's counsel, and concurred by the signature of the

  Assistant United States Attorney.

        Upon consideration of the sworn testimony of Defendant, as well as the

  representations of his counsel and the representations of the Government, the

  Court finds that the oral and written waiver of an Article III Judge and consent to

  enter a guilty plea before a Magistrate Judge was freely and voluntarily given.

  Additionally, the Court finds that the written waiver and consent was freely and

  voluntarily executed by Defendant Charles Bonner only after having had his rights

  fully explained to him and having a full understanding of those rights through

  consultation with his counsel, as well as through questioning by the Court.      The

  Court ORDERED the written Waiver and Consent to Enter Guilty Plea before a

  Magistrate Judge filed and made part of the record.

        Thereafter, the Court determined that Defendant's plea was pursuant to a

  written plea agreement, and asked the Government to tender the original to the Court.

  The Court asked counsel for the Government if the agreement was the sole

  agreement offered to Defendant.      The Government responded that it was, and

  counsel for Defendant confirmed the same. The Court asked counsel for the

  Government to summarize the written plea agreement. Counsel for Defendant and


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  Defendant stated that the agreement as summarized by counsel for the Government

  was correct and complied with their understanding of the agreement. The

  undersigned further inquired of Defendant regarding his understanding of the written

  plea agreement. Defendant stated he understood the terms of the written plea

  agreement and also stated that it contained the whole of his agreement with the

  Government and no promises or representations were made to him by the

  Government other than those terms contained in the written plea agreement. The

  Court ORDERED the written plea agreement filed.

        The undersigned then reviewed with Defendant Count Two of the Indictment

  and the elements the Government would have to prove, charging him with mail fraud

  in violation of Title 18, United States Code, Section 1341. Subsequently, Defendant

  Charles Bonner pled GUILTY to the charge contained in Count Two of the Indictment.

  However, before accepting Defendant’s plea, the undersigned inquired of

  Defendant’s understanding of the charges against him, inquired of Defendant’s

  understanding of the consequences of him pleading guilty to the charges, and

  obtained the factual basis for Defendant’s plea.

        The Court heard the testimony of Brad Dumire. Brad Dumire testified that he

  is a fraud investigator for the State of West Virginia, and that he investigated an

  accident in which Dallas Lewis had coordinated numerous accidents in which

  numerous individuals were involved in order to claim insurance money. The scheme

  occurred mostly in Harrison County, and injuries resulted from the scheme. Eric

  Warner and Bryce both alleged severe injuries. Negotiations with GEICO resulted in


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  the claim of a large monetary sum that was mailed in some form. Mr. Bonner was

  later identified as apart of the scheme that lasted for over 20 years, and was asked in

  this particular instance to be a driver in the staged motor vehicle collision. There was

  a vehicle purchased, and insurance obtained by Mr. Dallas Lewis in Mr. Bonner’s

  name, all for the purpose of staging this collision for the insurance claim money. Mr.

  Bonner has been very truthful throughout and says that he received one-thousand

  dollars as a result of this particular claim, although he was involved in other claims

  from this scheme.

        Defendant's counsel cross examined the witness. Defendant did not question

  the witness when given the opportunity to do so.         Defendant stated he heard,

  understood, and did not disagree with the testimony of the Government's witness.

  Additionally, Defendant provided a factual basis for the commission of the offense.

  The undersigned Magistrate Judge concludes the offense charged in Count Two of

  the Indictment is supported by an independent basis in fact concerning each of

  the essential elements of such offense, and that independent basis is provided by

  Brad Dumire’s testimony.

        The undersigned then reviewed with Defendant the statutory penalties

  applicable to an individual adjudicated guilty of the felony charge contained in Count

  Two of the Indictment and the impact of the sentencing guidelines on sentencing in

  general.    From said review, the undersigned Magistrate Judge determined

  Defendant understood the nature of the charges pending against him and that the

  possible statutory maximum sentence which could be imposed upon his conviction


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  or adjudication of guilty on Count Two was term of imprisonment of not more than 20

  years. The undersigned further determined Defendant understood a fine of not more

  than $250,000 could be imposed, both fine and imprisonment could be imposed, he

  would be subject to a period of at least three years of supervised release, and the

  Court would impose a special mandatory assessment of $100.00 for the felony

  conviction payable on or before the date of sentencing.               Defendant also

  understood that his sentence could be increased if he had a prior firearm offense,

  violent felony conviction, or prior drug conviction. He also understood he might be

  required by the Court to pay the costs of his incarceration.

       The undersigned also informed Defendant whether he understood that by

  pleading guilty he was forfeiting other rights such as right to vote, right to serve on a

  jury, and the right to legally possess a firearm.

       Additionally, the undersigned asked Defendant whether he understood that if he

  were not a citizen of the United States, by pleading guilty to a felony charge he would

  be subject to deportation at the conclusion of any sentence; that he would be denied

  future entry into the United States; and that he would be denied citizenship if he ever

  applied for it. Defendant stated that he understood.

         The undersigned also reviewed with Defendant his waiver of appellate and

  collateral attack rights.   Defendant understood that he was waiving his right to

  appeal his conviction and sentence to the Fourth Circuit Court of Appeals on any

  ground whatsoever, including those grounds set forth in 18 U.S.C. § 3742.

  Defendant further understood that under his plea agreement, he was waiving his

  right to challenge his conviction and sentence in any post-conviction proceeding,
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  including any proceeding under 28 U.S.C. § 2255.             Defendant understood,

  however, that he was reserving the right to raise claims of ineffective assistance of

  counsel or prosecutorial misconduct that he learned about after the plea hearing

  and agreed that he was unaware of any ineffective assistance of counsel or

  prosecutorial misconduct in his case at this time. From the foregoing, the

  undersigned determined that Defendant understood his appellate rights and

  knowingly gave up those rights pursuant to the conditions contained in the written

  plea agreement.

        The undersigned Magistrate Judge further examined Defendant relative to his

  knowledgeable and voluntary execution of the written plea agreement, and

  determined the entry into said written plea agreement was both knowledgeable and

  voluntary on the part of Defendant.

        The undersigned Magistrate Judge further inquired of           Defendant, his

  counsel, and the Government as to the non-binding recommendations and

  stipulations contained in the written plea agreement         and determined      that

  Defendant understood, with respect to the plea agreement and to Defendant's

  entry of a plea of guilty to the felony charge contained in Count Two of the

  Indictment. The undersigned Magistrate Judge informed Defendant that he would write

  the subject Report and Recommendation and a pre-sentence investigation report

  w o u l d be prepared by the probation officer attending the District Court. The

  undersigned advised the Defendant that the District Judge would adjudicate the

  Defendant guilty of the felony charged under Count Two of the Indictment. Only after


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  the District Court had an opportunity to review the pre-sentence investigation

  report, would the District Court make a determination as to whether to accept or

  reject any recommendation or stipulation contained within the plea agreement or pre-

  sentence report. The undersigned reiterated to Defendant that the District Judge may

  not agree with the recommendations or stipulations contained in the written

  agreement. The undersigned Magistrate Judge further advised Defendant, in accord

  with Federal Rule of Criminal Procedure 11, that in the event the District Court Judge

  refused to follow the non-binding recommendations or stipulations contained in the

  written plea agreement and/or sentenced him to a sentence which was different from

  that which he expected, he would not be permitted to withdraw his guilty plea.

  Defendant and his counsel each acknowledged their understanding and Defendant

  maintained his desire to have his guilty plea accepted.

        Defendant also understood that his actual sentence could not be calculated

  until after a pre-sentence report was prepared and a sentencing hearing conducted.

  The undersigned also advised, and Defendant stated that he understood, that the

  Sentencing Guidelines are no longer mandatory, and that, even if the District Judge

  did not follow the Sentencing Guidelines or sentenced him to a higher sentence

  than he expected, he would not have a right to withdraw his guilty plea. Defendant

  further stated that his attorney showed him how the advisory guideline chart worked

  but did not promise him any specific sentence at the time of sentencing.   Defendant

  stated that he understood his attorney could not predict or promise him what actual

  sentence he would receive from the sentencing judge at the sentencing hearing.


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  Defendant further understood there was no parole in the federal system, but that he

  may be able to earn institutional good time, and that good time was not controlled

  by the Court, but by the Federal Bureau of Prisons.

        Defendant, Charles Bonner, with the consent of his counsel, Deanna

  Pennington proceeded to enter a verbal plea of GUILTY to the felony charge in

  Count Two of the Indictment.

        Upon consideration of all of the above, the undersigned Magistrate Judge

  finds that Defendant is fully competent and capable of entering an informed plea;

  Defendant is aware of and understood his right to have an Article Ill Judge hear and

  accept his plea and elected to voluntarily consent to the undersigned United States

  Magistrate Judge hearing his plea; Defendant understood the charges against him,

  not only as to the Indictment as a whole, but in particular as to Count Two of the

  Indictment; Defendant understood the consequences of his plea of guilty, in

  particular the maximum statutory penalty to which he would be exposed for Count

  Two; Defendant made a knowing and voluntary plea of guilty to Count Two of the

  Indictment; and Defendant's plea is independently supported by Brad Dumire

  testimony which provides, beyond a reasonable doubt, proof of each of the essential

  elements of the charges to which Defendant has pled guilty.

        The undersigned Magistrate Judge therefore recommends Defendant's plea of

  guilty to Count Two of the Indictment herein be accepted conditioned upon the

  Court's receipt and review of this Report and Recommendation.

        The undersigned magistrate judge released Defendant on the terms of the


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  Order Setting Conditions of Release (ECF. No. 27) filed on March 29, 2017,

        Any party may, within fourteen (14) days after being served with a copy of this

  Report and Recommendation, file with the Clerk of the Court written objections

  identifying the portions of the Report and Recommendation to which objection is

  made, and the basis for such objection. A copy of such objections should also be

  submitted to the Honorable Irene M. Keeley, United States District Judge.    Failure to

  timely file objections to the Report and Recommendation set forth above will result

  in waiver of the right to appeal from a judgment of this Court based upon such

  report and recommendation.     28 U.S.C. § 636(b)(l); United    States v. Schronce,

  727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984); Wright v. Collins,

  766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

        The Clerk of the Court is directed to send a copy of this Report and

  Recommendation to counsel of record.


 Respectfully submitted on May 26, 2017




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